VIA ECF
The Honorable Arun Subramanian
United States District Court, Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 15A
New York, NY 10007-1312
Re: United States, et al. v. Live Nation Entertainment, Inc., et al., No. 1:24-cv-03973
Dear Judge Subramanian:
Pursuant to Rule 11(C)(i) of Your Honor’s Individual Practices in Civil Cases, non-party Anschutz
Entertainment Group (“AEG”) writes to respectfully withdraw its confidentiality designations
referenced in Plaintiffs’ Letter Motion to Seal. ECF No. 408.
AEG received only a short amount of time prior to the filing to offer a position on the
confidentiality of the initially designated material. To avoid any inadvertent public disclosure of
confidential material, AEG designated the material as Confidential. However, after a more
thorough review, we have revised our position on the confidentiality of the redacted passages.
Accordingly, AEG has no objection to the Plaintiffs’ public filing of the transcript.
We thank the Court for its attention to this matter.


Dated: January 30, 2025

Respectfully submitted,

Hogan Lovells US LLP

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